               Case 2:18-cv-01115-RSL Document 19 Filed 07/31/18 Page 1 of 1



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 5                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 6                                           AT SEATTLE

 7
       STATE OF WASHINGTON, et al.,
 8
                                     Plaintiffs,
 9
                                                                 No. C18-1115RSL
                      vs.
10
                                                                 MINUTE ORDER
       UNITED STATES DEPARTMENT OF STATE,
11
       et al.,
12                                   Defendants.
13
             The following Minute Order is made and entered on the docket at the direction of the
14
     HONORABLE ROBERT S. LASNIK, UNITED STATES DISTRICT JUDGE:
15
            Oral argument on Plaintiffs’ Motion for Temporary Restraining Order (Dkt. # 2) has been
16
     scheduled for Tuesday, July 31, 2018 at 2:00 p.m. in room 15106 before the Honorable Robert S.
17
     Lasnik, United States District Court Judge.
18
            DATED this 31st day of July, 2018.
19

20
                                                        /s/Kerry Simonds
21                                                      by Kerry Simonds, Deputy Clerk
                                                        To Robert S. Lasnik, Judge
22                                                      206-370-8519

23

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25

26   MINUTE ORDER
